Case 19-33038-mvl7           Doc 65    Filed 08/10/22 Entered 08/10/22 16:38:32          Desc Main
                                      Document      Page 1 of 1




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                    §
 IN RE:
                                                    §
                                                    §     CASE NO: 19-33038-mvl-7
 THE LANGSTON FAMILY LIMITED
                                                    §
 PARTNERSHIP
                                                    §     Chapter 7
                                                    §
 DEBTOR.


                                 TRUSTEE’S INTERIM REPORT

        The Trustee wishes to advise the Court, creditors, and parties in interest that he has
initiated an adversary proceeding, through special counsel. Litigation is ongoing.


                                              Respectfully Submitted,

                                                 /s/ Scott M. Seidel
                                                   Scott M. Seidel

                                              6505 W. Park Blvd., Suite 306
                                              Plano, Texas 75093
                                              Telephone: (214) 234-2500
                                              scott@scottseidel.com
                                              CHAPTER 7 TRUSTEE




TRUSTEE’S STATUS REPORT                                                                      SOLO PAGE
